                       UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION



    In re:                                       Chapter 11 (Subchapter V)

    SILVERSIDE SENIOR LIVING, LLC, Case No. 21-44887-lsg
    et al,1
                                   Jointly Administered
                  Debtors.



STIPULATED ORDER GRANTING APPLICATION OF GORDON FOOD
      SERVICE INC. FOR ALLOWANCE AND PAYMENT OF
            ADMINISTRATIVE PRIORITY CLAIM

             This matter came before the Court upon the Application of Gordon Food

Service Inc. For Allowance and Payment of Administrative Priority Claim

(“Application”: ECF No. 108). The Debtor filed the sole response/objection thereto

(“Objection”: ECF No. 149). The parties have resolved the matter and have filed a

stipulation (“Stipulation”; ECF No. 161) consenting to the entry of this Order. The

Court has reviewed the Application, the Objection, the Stipulation and other

pertinent pleadings, and is advised in the premises.




1
 The Debtors in these jointly administered proceedings along with the last four digits
of their respective federal tax id numbers are Silverside Senior Living, LLC (2357)
[Case No: 21-44887-lsg] and Graceway South Haven, LLC (9393) [Case No: 21-
44888-lsg].


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      NOW, THEREFORE, IT IS HEREBY ORDERED that Gordon Food

Service, Inc. is allowed an administrative claim in the amount of $13,670.68, which

will be paid in full or on a pro rata basis with the other administrative claims,

including the administrative rent claim of Chippewa Valley.



Signed on December 13, 2021




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